Case 4:21-cv-01212-P Document1 Filed 11/03/21 Page1 of 7 PagelD 4 1
PRISONER'S CIVIL RIGHTS COMPLAINT (Rev. 05/2015) U.S. DISTR]

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IN THE UNITED STATES DISTRICT COURT SLED |
FOR THE WecThte~w DISTRICT OF TEXAS NOV ~ 3 2021 ; |

FEWa REL. DIVISION | CLERK.US BstRIcrcore® |
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Plaintiffs Name andID Number eee
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Ars Uneals Gace

Place of Confinement

 

 

 

4-21Cv- 1212P

CASE NO.

 

(Clerk will assign the number)
v.

G eoase HoprVreeXranddond

Defendant’s Name and Address

2323 Ai3te H-¥ seen cpl PAIR 70I0z

Defendant’s Name and Address

 

 

 

 

Defendant’s Name and Address
( DO NOT USE “ET AL.”)

 

INSTRUCTIONS - READ CAREFULLY
NOTICE:
Your complaint is subject to dismissal unless it conforms to these instructions and this form.

1. To start an action you must file an original and one copy of your complaint with the court. You should keep
a copy of the complaint for your own records.

2. Your complaint must be legibly handwritten, in ink, or typewritten. You, the plaintiff, must sign and declare
under penalty of perjury that the facts are correct. If you need additional space, DO NOT USE THE REVERSE
SIDE OR BACKSIDE OFANY PAGE. ATTACH AN ADDITIONAL BLANK PAGE AND WRITE ONIT.

3. You must file a separate complaint for each claim you have unless the various claims are all related to the same
incident or issue or are all against the same defendant, Rule 18, Federal Rules of Civil Procedure. Make a short and
plain statement of your claim, Rule 8, Federal Rules of Civil Procedure.

4. When these forms are completed, mail the original and one copy to the clerk of the United States district court
for the appropriate district of Texas in the division where one or more named defendants are located, or where the
incident giving rise to your claim for relief occurred. If you are confined in the Texas Department of Criminal
Justice, Correctional Institutions Division (TDCJ-CID), the list labeled as “VENUE LIST” is posted in your unit
law library. It is a list of the Texas prison units indicating the appropriate district court, the division and an address
list of the divisional clerks.

Rev. 05/15
Case 4:21-cv-01212-P Document1 Filed 11/03/21 Page2of7 PagelD 2
FILING FEE AND IN FORMA PAUPERIS (IFP)

1. In order for your complaint to be filed, it must be accompanied by the statutory filing fee of $350.00 plus an
administrative fee of $50.00 for a total fee of $400.00.

2. Ifyoudo not have the necessary funds to pay the fee in full at this time, you may request permission to proceed
in forma pauperis. In this event you must complete the application to proceed in forma pauperis, setting forth
information to establish your inability to prepay the fees and costs or give security therefor. You must also include
a current six-month history of your inmate trust account. If you are an inmate in TDCJ-CID, you can acquire the
application to proceed in forma pauperis and the certificate of inmate trust account, also known as in forma
pauperis data sheet, from the law library at you prison unit.

3. The Prison Litigation Reform Act of 1995 (PLRA) provides “... if a prisoner brings a civil action or files an
appeal in forma pauperis, the prisoner shall be required to pay the full amount of a filing fee.” See 28 U.S.C.
§ 1915. Thus, the court is required to assess and, when funds exist, collect, the entire filing fee or a initial partial
filing fee and monthly installments until the entire amount of the filing fee has been paid by the prisoner. If you
submit the application to proceed in forma pauperis, the court will apply 28 U.S.C. § 1915 and, if appropriate,
assess and collect the entire filing fee or an initial partial filing fee, then monthly installments from you inmate trust
account, until the entire $350.00 statutory filing fee has been paid. (The $50.00 administrative fee does not apply
to cases proceeding in forma pauperis.)

4. Ifyou intend to seek in forma pauperis status, do not send your complaint without an application to proceed
in forma pauperis and the certificate of inmate trust account. Complete all essential paperwork before submitting
it to the court.

CHANGE OF ADDRESS

It is your responsibility to inform the court of any change of address and its effective date. Such notice should be
marked “NOTICE TO THE COURT OF CHANGE OF ADDRESS?” and shall not include any motion for any
other relief. Failure to filea NOTICE OF THE COURT OF CHANGE OF ADDRESS may result in the dismissal
of your complaint pursuant to Rule 41(b), Federal Rules of Civil Procedure.

I. PREVIOUS LAWSUITS: LX
A. Have you filed any other lawsuit in state or federal court relating to your imprisonment?__ YES O

B. If your answer to “A” is “yes”, describe each lawsuit in the space below. (If there is more than one
lawsuit, describe the additional lawsuits on another piece of paper, giving the same information.)

 

 

 

 

1. Approximate date of filing lawsuit: AJIVAY
2. Parties to previous lawsuit:
Plaintiff(s) r/ 0 J we
Defendant(s) lay Q WY -
Court: (If federal, name the district; if state, name the county.) LCG
Cause number: LIIbA v

 

Name of judge to whom case was assigned: Wy sal J
Disposition: (Was the case dismissed, appealed, still pending?) WV OF —

Approximate date of disposition:

IDA &

 

Rev. 05/15
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IV.

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Case 4:21-cv-01212-P Document Filed 1H Pag PagelD 3
PLACE OF PRESENT CONFINEMENT: Rae h dag iA 35 5 e

 

EXHAUSTION OF GRIEVANCE PROCEDURES:
Have you exhausted all steps of the institutional grievance procedure? V ves —__NO

Attach a copy of your final step of the grievance procedure with the response supplied by the institution.

PARTIES TO THIS SUIT: ai _ . -
A. Name and address of plaintiff: G LOL) Ee HOMER ~ it doee) OL Offre

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B. Full name of each defendant, his official position, his place of employment, and his full mailing address.

Defendant #1: Te EO isi Hops L328 ALIAS Fe AL Wate,
Th 2b

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.

Tw Tusred 4) MS PRYPeoy A I008 Dunins Mok Awe

Defendant #2:

 

 

Briefly describe the acts(s) or omission(s) of this defendant which you claimed harmed you.

 

Defendant #3:

 

 

Briefly describe the acts(s) or omission(s) of this defendant which you claimed harmed you.

 

Defendant #4:

 

 

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.

 

Defendant #5:

 

 

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.

 

Rev. 05/15
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Case 4:21-cv-01212-P Document1 Filed 11/03/21 Page4of7 PagelD4
STATEMENT OF CLAIM:

State here in a short and plain statement the facts of your case, that is, what happened, where did it happen,
when did it happen, and who was involved. Describe how each defendant is involved. You need not give

any legal arguments or cite any cases or statutes. If you intend to allege a number of related claims, number
and set forth each claim in a separate paragraph. Attach extra pages if necessary, but remember the
complaint must be stated briefly and concisely. IF YOU VIOLATE THIS RULE, THE COURT MAY

STRIKE YOUR COMPLAINT.

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RELIEF:
State briefly exactly what you want the court to do for you.
statutes.

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GENERAL BACKGROUND INFORMATION:

A. State, in complete form, all names you have ever ary or been known by including any and all aliases.

Nowe Sut KWAY e, Siw

Make no legal arguments. Cite no cases or

B. List all TDCJ-CID identificaiton numbers you have ever been assigned and all other state or federal
prison or FBI wie: Re r assigned to YOU

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SANCTIONS: 5
A. Have you been sanctioned by any court as a result of any lawsuit you have filed? YES Udo

B. If your answer is “yes,” give the following information for every lawsuit in which sanctions were
imposed. (If more than one, use another piece of paper and answer the same questions.)

1. Court that imposed sanctions (if federal, give the district and division): Ad S

Case number: SL)? Q) 4) ,

2
3. Approximate date sanctions were imposed: a AJ cv )
4 YES Ko

. Have the sanctions been lifted or otherwise satisfied?

Rev. 05/15
Case 4:21-cv-01212-P Document1 Filed 11/03/21 Page5of7 PagelID5 J)
C. Has any court ever warned or notified you that sanctions could be imposed? YES NO

D. If your answer is “yes,” give the following information for every lawsuit in which a warning was issued.
(If more than one, use another piece of paper and answer the same questions.)

1. Court that issued warning (if federal, give the district and division): AS ¢) e/

2. Case number: pr/O wt 4 2

. Approximate date warning was issued: ASO

 

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DATE 75, rod 3Y Ah Nuh § tage

(Signature of Plaintiff)

 

 

PLAINTIFF’S DECLARATIONS

1. I declare under penalty of perjury all facts presented in this complaint and attachments thereto are true
and correct.

2. Lunderstand, if I am released or transferred, it is my responsibility to keep the court informed of my
current mailing address and failure to do so may result in the dismissal of this lawsuit.

3. 1 understand I must exhaust all available administrative remedies prior to filing this lawsuit.

4. [understand I am prohibited from brining an in forma pauperis lawsuit if | have brought three or more
civil actions or appeals (from a judgment in a civil action) in a court of the United States while
incarcerated or detained in any facility, which lawsuits were dismissed on the ground they were
frivolous, malicious, or failed to state a claim upon which relief may be granted, unless I am under
imminent danger of serious physical injury.

5. Iunderstand even if 1 am allowed to proceed without prepayment of costs, | am responsible for the entire
filing fee and costs assessed by the court, which shall be deducted in accordance with the law from my
inmate trust account by my custodian until the filing fee is paid.

Signed this A aH day of 0 Coby , 20 ZL, .

(Day) (month) (year)

 

 

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(Signature of Plaintiff)

 

 

WARNING: Plaintiff is advised any false or deliberately misleading information provided in response to the
above questions may result in the imposition of sanctions. The sanctions the court may impose include, but
are not limited to, monetary sanctions and the dismissal of this action with prejudice.

Rev. 05/15
Case 4:21-cv-01212-P Document1 Filed 11/03/21 Page 6of7 PagelD 6

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Case 4:21-cv-01212-P Document 1) Filed 11/03/21 Page 7of 7 PagelD 7

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